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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )
                                            )      CASE NO. 6:20-CR-101
MONICA MITCHELL                             )


             ORDER ON MOTION FOR LEAVE OF ABSENCE

      Before the Court, is defense counsel’s Motion for Leave of Absence for the

dates of June 4th and 5th, 2020. Good cause having been shown, the Motion is hereby

granted.

      SO ORDERED this WKday of 0D\, 2020.


                                                   ____________________
                                                   _______________________
                                                   Christopher
                                                    Christophher L. Ray
                                                   United
                                                    U i d States
                                                           S      Magistrate
                                                                  M    i     JJudge
                                                                                d
                                                   Southern District of Georgia
                                                   Savannah Division
